Case 1:05-cv-01212-.]DT-STA Document 6 Filed 08/15/05 Page 1 of 2 Page|D 4
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lN THE UNITED sTATEs DISTRICT COURT 05405. \¢LOC
FOR THE WESTERN DIsTRICT oF TENNESSEE 5 ' -

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" -C`gg@m /?/
JOYCE sANTANA, )
)
Plaintiff, )
)
v. ) NO. 1-05-1212-TA11
)
TYsoN FooDs, CIN. ) JURY DEMAND
)
Defendant. )

 

MD ORDER GRANTING MOTION FOR ADMISSION PRO HAC WCE

 

Atter consideration of the motion to admit attorney Kenneth A. Weber pro hac vi'ce,
pursuant to Local Rule 83.1(b)(1) and it appearing to the Court that Kenneth A. Weber meets the

admission requirements to appear in this Court and for good cause shown',

IT IS HEREBY ORDERED that said motion should be, and hereby is, GRANTED.

-V:'.» ,
Thisrhe jidday cf fw ,2005.

(%MA.M

UNY$ sTATEs DisTRiCT JUDGE

' l ' This document entered on the docket he ln c mp|lance
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2789530-000002 08/11/05 with Rule 58 and,'or_?Q (a) FF|CP on 5

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UNITSTED`ATES DISTRICT C URT WESTENR D718R1C7T OF T7NNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 1:05-CV-01212 Was distributed by faX, mail, or direct printing on
August 16, 2005 to the parties listed.

 

 

.1 ustin Gilbert

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Kenneth A. Weber

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ- Nashville
211 Commerce St.

Ste. 1000

Nashville, TN 37201

Honorable .1 ames Todd
US DISTRICT COURT

